Case 2:05-cr-20056-SH|\/| Document 66 Filed 09/01/05 Page 1 of 2 Page|D 68

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UNITED sTATEs DISTRICT CoUR'ttl-ED F‘~`“-' m D~C-
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Western Division 05 SEP "l PH 5- l _

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UNITED sTA'rEs oF AMERICA CLb§“`@LQ § _. ‘:§§§;ttpiiis
-vs- Case No. 2:05cr20056-08Ma

TERRY DICKERSON

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
WEDNESDAY, SEPTEMBER 7, 2005 at 3:45 P.M. before United States Magistrate Judge Diane
K. Vescovo in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building,
167 North Main, Memphis, TN TN. Pcnding this hearing, the defendant shall be held in custody by
the United States Marshal and produced for the hearing.

Date: Septemberl,2005 `
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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

lIf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(£)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(t) are present Subsection(l ) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or jur .

AO 4?0 (8»'85) Order of Tempcrary Delention

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Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
September 15, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

